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 8                           UNITED STATES DISTRICT COURT
 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     JAMES ZARIAN,                       ) Case No. SACV 16-01672-JLS(KESx)
11                                       )
                      Plaintiff(s),      ) ORDER STAYING ACTION PENDING FINAL
12                                       ) SETTLEMENT, REMOVING CASE FROM
                      v.                 ) ACTIVE CASELOAD, AND FILING OF
13                                       ) DISMISSAL
     HARRY R. MARTIN,                    )
14                                       )
                      Defendant(s).      )
15                                       )
                                         )
16                                       )
                                         )
17                                       )
18
           On December 23, 2016, the Parties filed a Joint Notice of
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     Settlement (doc. 17), indicating that the case has been resolved.
20
     Based thereon, the Court hereby orders all proceedings in the case
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     stayed pending final settlement.
22
           It is further ordered that this action is removed from the
23
     Court’s active caseload, subject to the right upon good cause shown
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     within thirty (30) days, to reopen the action if settlement is not
25
     consummated.
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           ///
27
           ///
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     Case 8:16-cv-01672-JLS-KES Document 18 Filed 12/30/16 Page 2 of 2 Page ID #:63




 1         The parties shall file a Stipulation of Dismissal no later than

 2   January 23, 2017. If no dismissal is filed, the Court deems the

 3   matter dismissed at that time.

 4         The Court retains full jurisdiction over this action and this

 5   order shall not prejudice any party in the action.

 6         The Order to Show Cause issued December 21, 2016 is ordered

 7   DISCHARGED.

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 9   IT IS SO ORDERED.

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11   DATED: December 30, 2016                        JOSEPHINE L. STATON
                                                 _______________________________
                                                 HONORABLE JOSEPHINE L. STATON
12                                               UNITED STATES DISTRICT JUDGE
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